             Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 1 of 15



                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE

        Plaintiff                                                     CIVIL ACTION NO.:
                                                                      3:16-CV-00885-AVC
vs.

YALE UNIVERSITY, ET AL

        Defendants                                                    AUGUST 22, 2018

                            AFFIDAVIT OF PATRICK M. NOONAN

        I, Patrick M. Noonan, being duly sworn, depose and say that:

        1.       I am over the age of eighteen years and believe in the obligation of an oath.

        2.       I am a partner at the law firm of Donahue, Durham, & Noonan, P.C. and represent

the defendants in this action.

        3.      Attached hereto as Exhibit AAA are true and accurate copies of relevant portions

of Aley Menon's deposition transcript.

        4.      Attached hereto as Exhibit BBB are true and accurate copies of relevant portions

of Jason Killheffer's deposition transcript.

        5.      Attached hereto as Exhibit CCC are true and accurate copies of relevant portions

of Rachel Roger's deposition transcript.

Dated at Guilford, Connecticut this 22nd day of August, 2018:
                                                                                  -
                                                                       Patrick M. Noonan

STATE OF CONNECTICUT
                                        ) ss. Guilford
COUNTY OF NEW HAVEN
Subscribed and sworn to before me this 22"d day of August, 2018

                                                                      Notary Pu
                                                                      My Commission Expires
                                                                                                   _2ba<3
          Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 2 of 15




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court's electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court's CM/ECF System.



                                                                        /s/
                                                                Patrick M. Noonan




                                                2
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      EXHIBIT AAA
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         MONTAGUE v. YALE UNIVERSITY                                          April 13, 2017

                                                                                          Page 1
                    UNITED STATES DISTRICT COURT


                    DISTRICT OF CONNECTICUT




                    ------------------------------x
                    JACK MONTAGUE,

                                       Plaintiffs,

                              -versus-                            CIVIL ACTION
                                                                  No.
                    YALE UNIVERSITY, ANGELA                       3: 16-cv-00885-AVC
                    GLEASON and JASON KILLHEFFER,

                                       Defendants             x




                                         Deposition of ALEY MENON, taken pursuant to
                              Rule 30 of the Federal Rules of Civil Procedure,
                              held at the law offices of Jacobs and Dow, LLC,
                              350 Orange Street, New Haven, Connecticut,
                              before Rosanne LaBonia, LSR 249 and Notary
                              Public in and for the State of Connecticut, on
                              April 13, 2017, at 11:44 A.M.




                                              Sanders, Gale & Russell

Electronically signed by ROSANNE LABONIA (501·218·496·1146)        Q9
                                                   (203) 624-4157 ~~iA
                                                                         95aaaOa2·0622·43c3·8626·0f32aa2e79db
                  Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 5 of 15
        MONTAGUE v. YALE UNIVERSITY                                              April 13, 2017

                                                                                             Page 29
             1      graduate.
             2                A          And I explained what an academic
             3      environment is.
             4                Q          What is an academic environment?
             5                A          The academic environment is the learning
             6      environment that the students are in from the time
             7      they begin their relationship with the University
             8      until they graduate, and that would include their
             9      interactions with other students.
           10                 Q          So therefore, what you're saying is the
           11       academic environment means all interactions between
           12       students, whether on or off campus, from the time

           13       they enter Yale until the time they graduate, is
           14       that right?
           15                 A          That's not quite what I said.

           16                                       (THE REPORTER READ THE RECORD.)

           17                 Q           So is that correct, that it includes
           18       that the academic environment, in your view,
           19       includes all interactions between students on or off
           20        campus from the time they enter Yale University
           21       until the time they graduate?
           22                 A           Yes.
           23                 Q          Now, if you could turn to --

           24                 A           Do you want this back?
           25                 Q           Yes.       Great.   I'm going to show you an


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                                                    (203) 624-4157
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                  Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 6 of 15

         MONTAGUE v. YALE UNIVERSITY                                               April 13, 2017

                                                                                            Page 200
             1                                    CERTIFICATE
             2                 I hereby certify that I am a Notary Public in
             3       and for the State of Connecticut duly commissioned
             4       and qualified to administer oaths.
             5                 I further certify that the deponent named in
             6       the foregoing deposition was by me duly sworn and
             7       thereupon testified as appears in the foregoing
             8       deposition; that said deposition was taken by me
             9       stenographically in the presence of counsel and
           10        transcribed by means of computer-aided transcription
           11        by the undersigned, and the foregoing is a true and
           12        accurate transcript of the testimony.
           13                  I further certify that I am neither of counsel
           14        nor attorney to either of the parties to said suit,
           15        nor of either counsel in said suit, nor related to
           16        or employed by any of the parties or counsel to said
           17        suit, nor am I interested in the outcome of said
           18        cause.
           19                  Witness my hand and seal as Notary Public                     ~is

           20        27th day of April, 2017.
           21
           22
           23                                                  NOTARY PUBLIC
           24        My commission expires:                     1/31/19
           25


                                               Sanders, Gale & Russell
                                                    (203) 624-4157
Electronically signed by ROSANNE LA BONIA (501·218-496·1146)                   95aaaOa2~0622-43c3~8626~Of32aa2e79db
Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 7 of 15




       EXHIBIT BBB
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  MONTAGUE v. YALE UNIVERSITY                                                  January 10, 2017

                                                                                               Page 1
              UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF CONNECTICUT
              CIVIL ACTION No: 3:16 cv-00885-AVC

              ----------------------------------x
              JACK MONTAGUE,
                        Plaintiff,
                                       -v-
              YALE UNIVERSITY, ANGELA GLEASON,
              And JASON KILLHEFFER,
                        Defendants.

              ----------------------------------x

                                               Depositon of JASON KILLHEFFER, taken
              pursuant to Notice, held at the Law Offices of Jacobs
              & Dow, LLC, 350 Orange Street, New Haven, Connecticut,
              before James A. Martone, LSR #248, and Notary Public,
              in and for the State of Connecticut, on January 10,
              2017, at 10:05 a.m.




                                               Sanders, Gale & Russell
                                                   (203) 624-4157
Electronically signed by JAMES MARTONE (601-171-250-7767)                  31 a4d12d-81 eO-45a5-b5dO-50b58814fcad
                     Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 9 of 15
  MONTAGUE v. YALE UNIVERSITY                                                    January 10, 2017

                                                                                            Page 150
      1       Because he wasn't presenting anything.

      2                Q.        Title IX office is presenting options to a

      3       complainant.
      4                A.        Are you talking about in an average
      5       meeting?

       6                Q.       Let's take this meeting.

      7                A.        Okay.
      8                Q.        Angie Gleason, on behalf of the Title IX
       9      office is presenting options to                                ,
    10        correct?

    11                 A.        In which meeting?          Let's just be specific.

     12                 Q.       The meeting that was planned to take place
     13       after the meeting that all of you had on November 4th.
     14       Right?

    15                 A.        After November 4th, Angie was supposed to
     16       go back to                      to discuss whether she'd be willing
     17       to participate in a formal complaint process.                      They
     18       had previously discussed the whole range of options is
     19       my understanding.

     20                 Q.       So in this particular meeting, there were
     21       still options that were possible, right?

     22                A.        They were all still possible.
     23                 Q.       Okay.
     24                A.        Absolutely.
     25                 Q.       And so my question to you,         is it


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                    Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 10 of 15
  MONTAGUE v. YALE UNIVERSITY                                                       January 10, 2017

                                                                                                 Page 151
      1       appropriate in that -- was it appropriate in that

      2       meeting,         for Angie to say to                   that Yale

      3       university wants you to participate with its filing of

      4       a formal complaint?

      5                A.        Yes.

      6                Q.        All right.             Now so in this situation,

      7       would be the witness and you would be the complainant,

      8       correct?

       9               A.        Yes.       That's the terminology that they use.

    10                 Q.        And what is the role of a complainant?

     11                A.        Well,       in this situation, when a complaint

     12       is brought by a Title IX Coordinator, you file the

     13       complaint.             Which was the exhibit you showed to me

     14       earlier.           And that is all.

     15                                        I did not meet with the fact finder,

     16       I did not participate in the hearing.                       I did not have

     17       any other role in the process.

     18                 Q.       Is there something in the policies of Yale

     19       which lays that out that when the Title IX Coordinator

     20       is the complainant, that that complainant doesn't have

     21       any other role?

     22                 A.       I'm not sure.              I'd have to look at the UWC

     23       procedures to see if there is.                      I think it's -- yeah,

     24       I can't say off the top of my head.

     25                 Q.       You can't point to anything that says that?


                                               Sanders, Gale & Russell
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                    Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 11 of 15
  MONTAGUE v. YALE UNIVERSITY                                                    January 10, 2017

                                                                                             Page 195
       1                                                CERTIFICATE
       2                  I hereby certify that I am a Notary Public in
       3      and for the State of Connecticut, duly commissioned
       4      and qualified to administer oaths.
       5                  I further certify that the deponent named in the
       6      foregoing deposition was by me duly sworn and
       7      thereupon testified as appears in the foregoing
       8      deposition; that said deposition was taken by me
       9      stenographically in the presence of counsel and
     10       reduced to print under my direction, and the foregoing
     11       is a true and accurate transcript of the testimony.
     12                   I further certify that I am neither of counsel,
     13       nor related to either of the parties to said suit, nor
     14       am I interested in the outcome of said cause.
     15                   Witness my hand and seal                    ry Public this
     16       14th day of January, 2017.
     17
     18
     19             NOTARY PUBLIC
              JAMES A. MARTONE, L.S.R. 248
     20
              My Commission Expires:
     21            MARCH/2018
     22
     23
     24
     25


                                               Sanders, Gale & Russell
                                                    (203) 624-4157
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Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 12 of 15




       EXHIBIT CCC
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                                                                          1




 1   UNITED STATES DISTRICT COURT
     DISTRICT OF CONNECTICUT
 2   --------------------------------x
     JACK MONTAGUE,
 3
                      Plaintiff,
 4
     vs.                Civil Action No.: 3:16-CV-00885-AVC
 5                      Date: June 15, 2017
     YALE UNIVERSITY, ET AL,
 6
                  Defendants.
 7   --------------------------------x

 8

 9                DEPOSITION OF

10
           The deposition of                   was taken on
11
     June 15, 2017, beginning at 3:00 p.m., at the 55
12
     Whitney Avenue, New Haven, Connecticut, before Susan
13
     Wandzilak, Registered Professional Reporter and Notary
14
     Public in the State of Connecticut.
15

16

17

18

19

20                    Susan Wandzilak License No. 377
                    DEL VECCHIO REPORTING SERVICES, LLC
21                   PROFESSIONAL SHORTHAND REPORTERS
                             117 RANDI DRIVE
22                       MADISON, CONNECTICUT 06443
                               800-839-6867
23
     NEW HAVEN                      STAMFORD             HARTFORD
24

25
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                                                                          10




 1   my two friends from home and we saw her at the party

 2   that night.

 3              We left the basketball house -- we arrived at

 4   the basketball house at probably around 10, 10:30,

 5   left at around 11:30 or 12:00 o'clock.             I did not

 6   leave with           .    I left with my two friends from

 7   home.    But before we left I texted her to check in

 8   with her and see where she was or who she was with or

 9   if she was still at the basketball house at that time.

10       Q.     And so you were about ready to leave --

11       A.     Yep.

12       Q.     -- at the point you texted her?

13       A.     Yes.   Yeah.

14       Q.     And did you hear back from her?

15       A.     Yes, she texted me and told me that she was

16   fine and she was with Jack and that I could, you know,

17   go and leave with my friends.          I think we were going

18   to another party that night, so -- so we had left.

19       Q.     And was there a reason you wanted to text

20            before you left?

21       A.     Yes.

22       Q.     Why?

23       A.     As I was leaving the basketball house, I ran

24   into one of my friends and teammates who was in Jack's

25   year and she asked me where                 was.    And I said
       Case 3:16-cv-00885-AVC Document 167 Filed 08/22/18 Page 15 of 15
                                                                          11




 1   oh, she is with Jack.        And she said something that was

 2   concerning to me and said that, you know, that one of

 3   our -- our mutual friends and teammates had a bad

 4   experience with him.         And he kind of gave me the

 5   impression that he was kind of a jerk which prompted

 6   me to text              and check in with her and see, you

 7   know, how she was doing.

 8          Q.     And were you aware, at that point, towards

 9   the end of October that                had had a prior sexual

10   encounter with Mr. Montague?

11          A.     Yes.   Yeah.

12          Q.     And what had          told you about that

13   encounter?

14          A.     Not much but I knew that it happened a week

15   or two before and that was -- that was about it.               She

16   didn't go into -- into much detail about that with me.

17          Q.     And did, as of the time you were -- as of

18   October 18, 2014, at this time when you are texting

19   with            , had you heard of anyone else other than

20               who had made a claim of sexual misconduct --

21          A.     Yes.

22          Q.     -- against Jack?

23          A.     Yes.   Yeah.

24          Q.     And what -- what had you heard about in that

25   regard?
